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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF ALABAMA
                            NORTHERN DIVISION

UNITED STATES OF AMERICA                  )
                                          )
      v.                                  )   CASE NO. 2:09-CR-72-WKW
                                          )
MIGUEL GUZMAN NAVARRO                     )

                                      ORDER

      There being no objections filed to the Recommendation of the Magistrate Judge

(“Recommendation”) (Doc. # 222), and after an independent review, it is ORDERED that:

      (1)    The Recommendation is ADOPTED;

      (2)    Defendant Miguel Guzman Navarro’s motion to suppress (Doc. # 114) is

             DENIED.

             DONE this 17th day of September, 2009.

                                    /s/ W. Keith Watkins
                                UNITED STATES DISTRICT JUDGE
